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is alleged to be involved in only the US Treasury check offenses. He is not

charged in the other two conspiracies and related substantive offenses (the “Other

Crimes”). The first of the Other Crimes concern a scheme involving Sam’s Club

and Wal-Mart access device fraud (Counts 31, 32-45, 46-59) and the second of the

Other Crimes (Count 62) alleges a Hobbs Act conspiracy. Defendant argues that

the US Treasury check scheme in which he is named as a defendant should be

severed from the Sam’s Club and Wal-Mart access device scheme and the Hobbs

Act conspiracy because he is not alleged to have been involved in these Other

Crimes and if these crimes are allowed to be part of the US Treasury check trial, he

will be prejudiced at trial. The Government contends that there is a connection

between the crimes because the nature and execution of the schemes alleged in the

indictment are similar, in that identity fraud was used to facilitate the check fraud

and the credit card fraud; that defendant Asad Abdullah was the “designer,

organizer, and/or leader of both fraud schemes;” and that the conspiracies are

related because they “had a common criminal objective, . . . namely to unlawfully

obtain money for their own benefit.” (R&R at 4) (quoting [288] at 3-5).

II.   STANDARD OF REVIEW

      After conducting a careful and complete review of the findings and

recommendations, a district judge may accept, reject, or modify a magistrate


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judge’s report and recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59;

Williams v. Wainwright, 681 F.2d 732, 732 (11th Cir. 1982) (per curiam). A

district judge “shall make a de novo determination of those portions of the report or

specified proposed findings or recommendations to which objection is made.” 28

U.S.C. § 636(b)(1). This requires that the district judge “give fresh consideration

to those issues to which specific objection has been made by a party.” Jeffrey S.

v. State Bd. of Educ. of Ga., 896 F.2d 507, 512 (11th Cir. 1990) (internal citations

omitted). With respect to those findings and recommendations to which a party

has not asserted objections, the Court must conduct a plain error review of the

record. United States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983). Here, neither

the Government nor Defendant filed objections to the R&R and the Court reviews

the findings and recommendations in the R&R for plain error.

III.   DISCUSSION

       Rule 8(b) of the Federal Rules of Criminal Procedure provides:

             The indictment or information may charge 2 or more
             defendants if they are alleged to have participated in the same
             act or transaction, or in the same series of acts or transactions,
             constituting an offense or offenses. The defendant may be
             charged in one or more counts together or separately.

Fed. R. Crim. P. 8(b). “Joinder of parties and defendants under Rule 8 is designed

to promote judicial economy and efficiency.” United States v. Weaver, 905 F.2d


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1466, 1476 (11th Cir. 1990), cert. denied, 498 U.S. 1091 (1991). “[A]

countervailing purpose of Rule 8(b) ‘is to prevent the cumulation of prejudice

[resulting from] charging several defendants with similar but unrelated offenses.’”

Id. (quoting United States v. Bova, 493 F.2d 33, 35 (5th Cir. 1974)). “[W]hen . . .

the connection between different groups is limited to a few individuals common to

each but those individuals commit separate acts which involve them in separate

offenses with no common aim, then the requisite substantial identity of facts or

participants is not present.” Id. at 1477 (quoting United States v. Nettles, 470 F.2d

547, 551 (5th Cir. 1978)). Even if criminal acts of defendants are similar, they

“cannot be properly joined in a multiple defendant trial if different facts and

circumstances must be established to support the alleged violations.” Id. (quoting

United States v. Gentile, 495 F.2d 626, 630 (5th Cir. 1974)). Whether “initial

joinder is proper under Rule 8(b) is to be determined before trial by examination

by the trial court of the allegations stated on the face of the indictment.” Id. at

1476.

        Applying this analytical framework, the Magistrate Judge evaluated the

charges asserted in the Indictment. Finding there are different conspiracies alleged

with scant overlap of defendants or conduct, the Magistrate Judge determined that




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the charges alleged against the Defendant should be severed from trial of the Other

Crimes. (R&R at 10-11).

      The Court has reviewed these findings and recommendations and, finding no

plain error in them, they are adopted.

IV.   CONCLUSION

      For the reasons stated above,

      IT IS HEREBY ORDERED that the Court ADOPTS Magistrate Judge E.

Clayton Scofield’s Report and Recommendation [319].

      IT IS FURTHER ORDERED that Defendant Hudhayfah Abdullah’s

Motion for Relief from Improper Joinder [245] is GRANTED.



      SO ORDERED this 6th day of July, 2015.




                                      _______________________________
                                      WILLIAM S. DUFFEY, JR.
                                      UNITED STATES DISTRICT JUDGE




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